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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                    Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

             Defendants.
                                                /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                    Case No. 11-20066


JEFF GARVIN SMITH et al.,

             Defendants.
                                                /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                    Case No. 12-20387

SMILEY VILLA et al.,

             Defendants.
                                                /

                 ORDER CONFIRMING DEFENDANTS’ PROPOSED
                  IDENTIFICATION OF GROUP LIAISON COUNSEL

      The defendants, in unison, have proposed the attorneys listed below to act as

liaison counsel (or alternate) in each defendant group for such purposes set forth in the

court’s order of 09/07/12 [Doc #462], principally to operate as the primary contact and
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organizational leader for each of the groups, but having no responsibility for formally

representing any defendant within the group other than liaison counsel’s own client.

            Liaison counsel (or alternate) shall participate in every status or telephonic

conference, and no other counsel will be required to attend the conference. Other, non-

liaison counsel may attend, at their election, with reasonable cause.1 Therefore,

            IT IS ORDERED that the proposal is ACCEPTED and each of the following

attorneys is APPOINTED AS LIAISON OR ALTERNATE LIAISON COUNSEL until

further order of the court:

Group 1 - Liaison: Mark A. Satawa; Alternate Liaison: Jerome Sabotta

Group 2 - Liaison: Loren Dickstein; Alternate Liaison: Sidney Kraizman

Group 3 - Liaison: Margaret S. Raben; Alternate Liaison: Michael J. McCarthy

Group 4 - Liaison: William W. Swor; Alternate Liaison: Gerald J. Gleeson

                                                                          s/Robert H. Cleland
                                                                          ROBERT H. CLELAND
                                                                          UNITED STATES DISTRICT JUDGE

Dated: September 24, 2012

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 24, 2012, by electronic and/or ordinary mail.

                                                                          s/Lisa Wagner
                                                                          Case Manager and Deputy Clerk
                                                                          (313) 234-5522



            1
         The court is obligated to bear in mind efficiency in the management of this
case, and seeks to avoid the accumulation of unnecessary expenses. Accordingly, it
should be noted that a non-liaison attorney who is specifically not required to attend
rudimentary and non-critical scheduling conferences, as the court contemplates herein,
but who elects to attend, especially repeatedly and without meaningful participation,
could be seen as engaging in unproductive work, billing for which under the Criminal
Justice Act may be subject to further inquiry, reduction, or disallowance.

S:\Cleland\CHD\Criminal\DD\11-20129.ORDER.Approving.Liaison.Counsel.wpd     2
